                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


KIEL PATRICK JAMES LLC,

         Plaintiff,
                                                  Case   No.: I :16-cv-08062
v.

THE PARTNERSHIPS AND
LININCORPORATED AS SOCIATION            S
                                                                  FILED
IDENTIFIED ON SCHEDULE "A",
                                                                    Nol/   r o \afi?M
         Defendants.
                                                             .LERT{?IKB8rffJI8U,*,


                       TTIIRD PARTY CITATION TO DISCOVER ASSETS

TO:

AMAZON PAYMENTS, INC.
c/o ILLINOIS CORPORATION SERVICE CO.
801 ADLAI STEVENSON DRIVE
SPRINGFIELD,IL 62703

yOU ARE COMMANDED to appear before the Honorable            Judge Sara L. Ellis in Courtroom
Room l4O3 atthe U.S. District Court for the Northern District of Illinois, 219 South Dearborn
Street, Chicago, Illinois, on Novemb er 17 ,2016 at 1 :45 p.m. to be examined under oath
concerning thi propeny or income of, or indebtedness due the judgment creditor, KIEL
PATRICK JAMES LLC,

Default Judgment was entered in favor of the Plaintiff and against each Defendant set forth
below in the amount of $2,000,000. (ECF No. 34, attached). The sum of $2,000,000 remains
unsatisfied as to each Dcfendant. The Defendants are identified as follows:

      Store Name              Seller ID
     Vinstore                al6i4Susfagl4j
     J&J gift shop           algjf4Tgcjtvfh

     Nackiy                  alh4b2ghbarx98
     DDLBiz                  a2mJv'rJez2w867
     Doitory                 a2gy9lzrt{rgnx
      Golastarlery           a2t04j676sg0l2
   MEALGUET
   JEWELLERY                a2wkbulyctlges
   sweet sunny              alkx92j1m63ydn
   Flongo Fashion           a2w2ugqvygc833
   summer store             ale5auw7g4e53z
   Imixlot                  a2myaiz4tkfbpr


YOU ARE COMMANDED to produce all documents requested below including, but not limited
to, any and all books, papers or records in your possession or control which may contain
information conceming the payment processing accounts, property or income of, or indebtedness
of the Defendants.

       REQUESTED DOCUMENTS: Documents that identify any accounts used by the
Defendants.

YOU ARE PROHIBITED from making or allowing any transfer or other disposition of, or
interfering with, any property not exempt from execution or garnishment belonging to the
judgment debtor or to which it may be entitled or which may be acquired by or become due to it
and from paying over or otherwise disposing of any money not so exempt, which is due or
becomes due to it, until the further order of court or termination of the proceedings. You are not
required to withhold the payment of any money beyond double the amount ofjudgment.


YOUR FAILURE TO COMPLY WITH THIS CITATION MAY SUBJECT YOU TO

PUNISHMENT FOR CONTEMPT OF THIS COURT OR TO A JUDGMENT FOR THE

AMOUNT UNPAID.




                                                       Date




                                                       Deputy Clerk of the Court




                                                       Clerk of the Court
Keith A. Vogt (ARDC No. 6207971)
1033 South Blvd
Suite # 200
Oak Park, Illinois 60304
P: (708) 203-4787
Email : keith(ri)voqtip.c0n1
                              IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION


KIEL PATRICK JAMES LLC,

           Plaintifi
                                                                                             1:   I   6-cv-08062
v.

THE PARTNERSHIPS AND
UNINCORPORATED AS SOCIATIONS
IDENTIFIED ON SCHEDULE " 4",

           Defendants.




              l"Hltt D   P "4 RT   y R[Sf     ON n ENT   ;tl\S\YElt Tt] CI?;ITI*]* I]ROCfl, tlD I NGS

                                                     *--{Citation Respandent}, certilics undcr penalty of
     pcrjury lhat with regard to the pLopcrty' of the judgment debtor, the Citatiq:n ltcspundent file s the
     following ansl\ier$ to this Cil,rtion lo Discover;\ssets and is in posse ssion *J'thc lbllorving property
     {)l'rhe judgrlrent dehlor.

     Circlc onc or nrore of tl'le fnllou,ing arrd irtdieate         tl.rr:   an:ount held:

     A)       Savirrgs Accotrnt (,trn*unl rvithh*ld)       S___
     B)       Checking arrd/or Now Accarrr:l iAm*unt tvithhe Id) $                   *** . "_
     C)       Ceniilcate of l)*p*sil {Amount held)$--___

     D)       ?v.{oncv [,lar]ret r\cr:fiunt   {An:nirnt held)   $


     Ei       1"rusl Account (,'\moun{ helC) S

     lr)     Accounts relating to payment processing (Amount held) $

     Ci       hio   Accounts___-..=-_
H)         Arlverse Clainranr    Name                                  AdrJress--*-*




l'         \\i'agr:x, S:rlilry, ur C*mmissions

Jr       0lltcrl'crson:rlPropcrtl'fl)L'scrihe)

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                                                             $ub-]'otal

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         I"css tlednetion f'*r fc*s }imir*:rl bn
         205 ILCS 5148.t

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        Ace*r*ing t* the husiness r*oords kept by thc Citatirin l{*spt:n*elXn rt'f shoru                    thr: abotc
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                                                                       IJate
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Agent Name
Business Namr:
,dddrcss

Plrrnc
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Jroc;rtc,trr Crrr*t'r*n alI) THE Srrrnnaul.
                                                                                                                                                   i;-.v-(XJ0r;2 Documenl +: 42 Fi;ed: 1012(,i] 6 Page 2 qf                      I   paoelD ,1:ii470
    Case: 1.::1.(;cv-0B0ri2 Documenl            t:42   Fiieci: 10126/i.i) pago::. of B F:,iuelD i*::i46!)                          Case: I   r 1




                          IN   THE UNITED S'I'ATES DISTRICT COURT                                                           pendency       of lhe         action      ild   affording them the oppoftuity to mswer md present thelr
                                NORTHERN DISTRICT OF ILI,INOIS
                                           EASTERN DMSIO"I                                                                  obJections;     ed
                                                                                                                                      None     of the Defaulting Defendmts having mswered the Complaint or appeared in my

                                                                                                                            way, md the time for mswering the Complaint having expired;

                                                                                                                                      THJS COURT IIERIBY FIN'DS that                                it h6   personal.;urisdiction over Defaulting
                                                             C6e No.: l:16-cv-08062

                                                             Judge Sara   fllis                                             Defenddf sir,ce Defaulting Defendilb direcdy tdget lheir                                      busrness activities toward

T}tE PARTNERSHIPS AND                                                                                                       consumers        in the United States, including lllinois. Specifically, Defaulting Defendmts                               are
UMNCORPORATED ASSOCIATIONS
IDENTIFIED ON SC}IEDULE'A".                                                                                                 reaching      out to do business wth ltlinois residents by operating one or more commercial,
       Defendm6.
                                                                                                                            interactive Defendmt lntemet Stores through which tllinois residents cm purchase products

                                                                                                                            bering counterfeit versions of KJP'S trademark which is protected by US. Trademilk
                                        FINAL JUDCMENT ORDER                                                                Regisrarion       No        4,8 I 9, I 02 Ghe   "ANCHOR TRADEMARK)

        This etion having been commencc'd by KIEL PATRICK JAMES LLC ("KJP ) against                                                   THIS COURT FURTHER FINDS that Defaulting Defendmts ae liable for willful

the defendmts identified in the attached Founh Amcndcd Schedule                     A md using the Defendmt                 federal tradentark infringemenl md counterfeiting (15 U.S C. $ 1 I l4), false designahon                            oforigin

Domain Nmes md Online MdkctPlace Accounls (@llectively, the'Defendmt                                         Intemet        ( |   5 U.S.C. $       II   25(a)), md viol ation of the Illinois Uniform Deceptive Trade Practices Act (8                   I 5



Stores"),    od   KJP having moved for entry             of   Default ard Default Judgment aganst the                       ILCS |i 5 10, et seq           ).


dcfenduts identified in the Founh Amended Schedule A aftached hereto (collectively, the                                               lT lS         HEREBY ORDERED that KJP'S Motion for Entry                               of      Default md Default

"Defaulting Defendmts'):                                                                                                    Judgment is ORANTED                       in its entirety, that Defaulting Defendmts are deemed in default md

        This Coun having entered upon a showing by KJI', a temporu; restraning order md                                     that this Final Judgment is entered against Defaulting Defendmts

 preliminary injunction agdnsl Defaulting Defenduts which included a domain name trmsfer                                    IT IS FURTHER ORDERED that:

 order md 6set restraining order:                                                                                            I         Dcfaulnng Defendmts, their affiliates, officers, agents' serumts, employees, altorneys,

        KJP having properly completed seruice of process on Defaulting Defendmls,                                    the
                                                                                                                                       confederates,            md all persons acting for, with, by, through, under' or in actile conce(

 combination of providing notice via electronic publication or e-mdl, along with my nolice lhat                                        with them be permmently enjoined                    dd   restrained from:

 Dcfaulting Defendmts received from domain name registrds md payment processors, being

 notice reasonablv calculated under all circumstuces              o   apprise Defaulting Defendots             of    the




                                                                                            I   Paqel D *:347                       Ca6e: i:1ri-cv-tlB062 DDcurnent                  f+:   42 Fil.'d: 1012611tl Page 'l ol B PaEelD +::1472
     Case; i: iir-cv-C806': )ocu.rent +. 42 Flledl 10126/16 Page :l of                                           1




                                                                                                                                       h.    operating           md/or hosting websites at the Defendmt Domain Nmes md                          ey     other
              using the ANCHOR Trademrk or               my reproductions, counterfeit copies or colorable
                                                                                                                                             domain names registered or operated by Defaulting Defendmts that ue involved with
              imitations therrcf        in my   mmner in connection with the disuibution, mdkehng,
                                                                                                                                             $e distribulion, marketing, advenising, offering for                        sale,   or sale of my product
              advenising offering for sale, or sale       ofm)    product that is not a genuine KJP Product

                                                                          uith    the   ANCHOR Trademuki                                     bearing the ANCHOR Trademark                           or my     reproducions, couterfeit copies or
              or not   authorird by KJP     to be sold irr conneclion

                                                                            pcs olf my product          6   a genuine                        colorable imitations thereof            thd is not a genuine KJP Product or not authonred                   by
              pmsing off, inducing, or enrblirrg olhcrs to sell or
                                                                                                                                             KJP to be sold in connection with the ANCHOR Trademark.
              I(JP Product or    dy     olher product produced    b) KJP, thlt is not KIP' or not prcduced
                                                                                                                                       The clomain              nme registies for the Defendmt Doman Nmes, including, but not limited
              under the authoriation, rcntrol or superuision of KJP md approved by KJP for sale
                                                                                                                                       to, Verisign, lnc, Neustu, hc.,                     Afiliu   Limited, CentralNic, Nominet'          ud   the Public
              under the   ANCHOR Tradcrruk:

                                                                                        to believe that                                lnterest Registry, within three (3) business days                    of receipt of this Order, shall, at KJP'S
              conlmitting      aly   acts cilculated    to   cause @nsumers                                 Defaulting


              Defondmts' products tre those sold under the arthorizaion, control or superuision
                                                                                                                      of               choosilrg:

                                                                                             wth KJP,                                  a     pcrnunently trmsfer the Defendet Doman Nmes to KJP'S control, including
              KIP, or are sponsored by, approved by, or otherwise @nnected

                                                                  dd daraging            KJP s goodwll;                                      unlocking md chmging the regiskar of record for the Defendet Domain Nmes to                                       a
         d    funher infringing the ANCHOR Trademel

                                                        (JP in m1' ntmner,                                                                   reg;srrar          of   KJP'S selechon,       md the domain nme regislrars shall take              ey     steps
              otheMise competing unfairly with
                                                                                                                                             necessary to            kmsfer the Defendmt Domdn Nmes to               a   registrar of KJP selection; or
         f    shiDping, delivering, holding fur sale, trmsferring or otherurse movrng, storing'
                                                                                                                                        b.   cMcel the registrations for the Defendet Domain Nmes                          ed    make them    inactve
              disributing, retuming. or otherwise disposing                ol in my             m&ner' products or

                                                                                                               sld                      Those in pnvity with Defaulting Defenddts md with actual notice of this Order,
              inventory not maufactured by or lor KJP, nor authorized by KJP to be                                     or

                                                                                                               or    my                 including my online marketplaces such                        o   iOffer md Alibaba Group Holding Ltd,
              offered for       sate,   od utich       bear my     of tlte    ANCHOR Trademak

                                 muterfeit      copies or colorable imitations      thereot                                             Alipay com Co., Ltd.                ud my related        Alibaba entities (collectively, "Alibaba"), social
              reproductions,

                                                                                                               oMlng                    media platforms, Facebook, YouTube, Linkedln, Twtter, [ntemet search engines such                                  3
         g.   using, linking     b, trmsferring, selling, exurcising        control over' or otheMse

                                                                                                                                        Google, Bing md Yahoo, web hosts for the Defendmt Domain Nmes, erd domain                                      nme
              the Onlne Marketplace AccowE, the DefendMt Domain Nmes, or my other
                                                                                                                                        registrars, shall within three (3) business days ofreceipt ofthis Order:
              domain name or online nrarketplaco accounl that is being used to sell or is the meos

                                                                                  to sell       Couterfeitnnfrrnging                    a.    disable md cese providing seruices for My accouts through which Defaulting
              by which         Defaulting Defendants could continue
                                                                                                                                               Defendmts engage               in   the sale     of couterfeit md          infringing goods using the
               Products: md
         Ca.ccr:   :l.i:.(l-cv-ilii0il2 DcLrirmerl q: 42 ?ti.td. 10t2.611.6 Paq{} j; of B laqelD f ::i4,'i}                      Cas(:: 1: iti.r;v-C8iir]2 Dccuilent rr 42 Fiie{}: l}i2t\i1.6 page ii of B Faq€jlD #::t414




                   ANCHOR Tradenruk, including                  my acouts         Esociated with thc Defaulting                     L   nhl KJP h6 recovered full payment of monies owed to it by my Defaulting DefendMt,

                   Defenduts listed on Founh Amended Schedule A a(tached hereto;                                                    KJP shall have the ongoing authority to seNe this Order on PayPal in the event that             ey

             b.    disable      md   cease displaying      any advefrisetrtcnb used by           or   rsociated with                new PalPal accounts controlled or operated by Defaulting Defendmts are identified.

                   Defaulting Defendrns in rcnnection with the sale of counterfeit md infringing goods                              Upon receipt      ofthis Order,   PayPal shall    within two (2) business days:

                   using the ANCHOR Tradcmark;             od                                                                       a     Locat€ all accounts         ud    funds connected    to   Defaulting D€fendants, Defauhing

            c.     take   all   steps necessary   to prevenl links to the Defer lmt Doman Narres identified                               Defendots' Online Marketplace Accounts or Defaulting Defendmls                      websites,


                   on Fourth Amended Sched'rle A frorn displaying in search results, includintl. but not                                  iilcluding, but not limited to, my PayPal accounts;

                   limited to, removing Iinks to the Defen.lMl Domaitt Names from my search index.                                  b     Restrain md enloin such acmunts or funds thal are China or Hong Kong bmed from

             Pursuot to 15 U.S C. $ I I I 7(cX2). KJP is awuded statutor] damages from each of the                                        trmsferrrng or disposing     ofmy      money or other of Defaultrng Defendmts' assets; md

             Defiulting Defendmts in the amout of two million dollm ($2,000,000) for willful use                                    c     Rele6e all monies restrdned in Defaulting Defendets' PayPal accounts to KJP                6

            of counterfeit ANCHOR Trademark on products sold through at lemt the Defendmt                                                 pMial payment of $e above-identified damages within ten (10) business days of

            lntemet Storcs.                                                                                                               recerpt   ofthis Order.

             Westem Union shall,         wthin Mo (2)       business days     of reccipt ol this Order, permmendy                   Until KIP hro recovered full payment of monies owed to it by             ey   Defaulting Defendmt,

             block my Westem Union monev trmsfem and funds from                             being received            by   the      KJP shall have      fie ongoing authority to      serue this Order on   my buks, savings md lom

            Defaulting Defendmts identified on Founh Amonded Schedule A.                                                            msociations,       or   other finmcial institutions (collectively, the "Finmcial Seruice

             PayPal, Inc. ("PayPal") shall,             witlin M (2)      business days   of   receipt    of this Order,            Providers") in the event that my new finecial accounB @ntrolled or operated by

            pemMently restrain md enjoin my China or Hong Kong hased accoults connecled to                                          Defaulting Defendmb ue identified. Upon receipt ofthis Order, the Finmcial Seruice

             Defaulting Defendmts, Defaulting Defendas' Onlioe Milketplace Accomts or                                               Providers shall     wthin two (2)      business days:


             Defaulting Defendmts'wbsites                  identified   in   Founh Aruended Schedule A from                         a.    Locate all accouts connected to Defaulting Defendmts, Defaulting Defendanb'

             trmslerring or disposing ofany money or other ofDefaulting Defendmts'                        assets.                         Online Mdketplace Accouts or Defaulting Defendmts' websites;

             All   monies cufiently restained in Defaulting             Drlendets finMcial accouts,                 including       b     Restrain    md enjoin such accounts from receiving, trmsferring or disposing of my

             monres held         by PayPal, ue hcreby relered to KJP              6 pffid   payment        ol the     above-              money or other ofDefaulting Defendmts' ssets; md

             identified dmages,        od   PayPa.l is ordered to    relece   o   hJP the mounts from Defaulting

             Defenddts' PryPal accounb wifiin ten (10) business days ofreceipt ofthis Order.




         case: i:16-cv-0806:l Docuinenr *: 42!:it'>d: ral26llbPdge 7 ot 8 PagulLl r;;3475                                        cser     1:   l6-cv-03062 Docutrrent       r:   42 Filecl: ltl/2ijl16 page 3 of B paqelD ,::347b




            c.     Relece all monies restrained in Defaulting Defendmts' finmcial ac@unts to KJP                            6                           Fourth Amended Schedule A
                   pmial payment of the above-identified dmages within ten (10) business days of

                   receipt ofthis Order.                                                                                                                                    Defendants
I0          In the event that KJP identifis my additional onlrne marketplrce accounts, doman

            nmes or finocial accouns omed by Defaulting Defendab, KJP may send notice of                                                No.                                                 Name / Alias
                                                                                                                                         71.                Vinstore
             my supplemental proceeding to Defaulting Defendmts by e-mal at the email addresses                                          18.                J&J glft shop
                                                                                                                                         95                 Nackiy
             identified in Exhibits 2 md            I   to the Decldation of Jeremy Savage mo my e-mal                                  100                 DDLBiz
                                                                                                                                        I02.                Doitory
             addresses provided for Defaulhng            Defendels by thrrd pafties.
                                                                                                                                         u8                 CrclNtdery
I   l.       The ten thousmd-dolle ($10,000)              c6h bond   posted by KJP, including      uy      iltrJrcst minus               t2'7.              MEALGUET JEWELLERY
                                                                                                                                         128                sweet   suny
             the registry fee, is hereby releded to KJP or           ib   counscl, Keith A. Vogt.     l   he Clerk of the                130                Flongo F6hion
                                                                                                                                         l3l                summer store
             Coun is directed to return the        cah    bonC p.eviouslv deposited     with the Clerk of the Coun                      l3 3.               Imixlot

             to KJP or its counsel by chcck trrade out to lhe           Kci$ A Vogt IOLTA account

This is a Final Judgmenl

Dated: Octobe.26. 2016



                                                    & IT,L
                                                   TheHonoEbleSilaL Fllis
                                                   United Slates Di"tricl Coun Judce
